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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )                  4:03CR3014
                                         )
               v.                        )
                                         )                MEMORANDUM
HA T.T. NGUYEN,                          )                 AND ORDER
                                         )
                     Defendant.          )

      The defendant seeks a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2)
and Amendment 7091 to the Guidelines. (Filing 409.) The motion will be denied for
two independent reasons.

       First, Amendment 7092, effective November 1, 2007, came into being long
after the defendant was sentenced in 2003,3 and it is not listed as one of those
amendments that the Sentencing Commission has made retroactive.4 Accordingly,


      1
          She incorrectly describes this as “Amendment 12.”
      2
      See U.S.S.G. Supplement to Appendix C, at 235-241 (amendments to the
Guidelines Manual effective November 1, 2004, through November 1, 2007)
(Amendment 709).
      3
      S ee filing 194 for the judgment. See filing 192 for the presentence report.
      4
        U.S.S.G. § 1B1.10(c) (2008), reprinted in Supplement to the 2007 Guidelines
Manual, at 2 (May 1, 2008) (policy statement listing amendments that are
retroactive). Observe that U.S.S.G. § 1B1.10(a)(2)(A) provides that a “reduction in
the defendant’s term of imprisonment is not consistent with this policy statement and
therefore is not authorized under 18 U.S.C. § 3582(c) if . . . none of the amendments
listed in subsection(c) is applicable to the defendant . . . .” Reprinted in Supplement
to the 2007 Guidelines Manual, at 1.
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there is an insuperable statutory bar to relief.5 United States v Peters, 524 F.3d 905,
906 (8th Cir. 2008) (Amendment 709 was not retroactive and the district court was
therefore barred from applying it). Second, since the amendment did not change the
way the Guidelines dealt with the crimes of child abuse, assault and stealing money
or goods (the crimes that put that defendant into criminal history category II),
Amendment 709 would not help the defendant even if it were retroactive.6 Therefore,

       IT IS ORDERED that the defendant’s motion (filing 409) is denied. Since this
is not a “crack cocaine” reduction motion, the Clerk shall correct the text of the
docket entry for filing 409 by striking the present description and inserting the
following: “Motion for Reduction of Sentence.”

      August 19, 2008.                  BY THE COURT:

                                        s/Richard G. Kopf
                                        United States District Judge




      5
       Since the Sentencing Commission did not make Amendment 709 retroactive,
it would be inconsistent with the “applicable policy statements issued by the
Sentencing Commission,” and therefore inconsistent with the plain words of 18
U.S.C. § 3582(c)(2), to grant the defendant relief.
      6
       Compare the presentence report, filing 192, PSR ¶¶ 54-56, with Amendment
709, U.S.S.G. Supplement to Appendix C, at 235-241.

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